Case: 3:11-cv-00005-TMR Doc #: 2 Filed: 01/07/11 Page: 1 of 17 PAGEID #: 34



                 UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF OHIO
                       WESTERN DIVISION




CLAUDIO OCCmONE,                            )

                                            ~ CASE NO.:   3 : 11 ~ OQ0ogt.
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                                            ) .JUDGE:     THOMAS I'll. ."
                     Plaintiff,             )
                                            )                  ON L OVl\\If"'Ti",;~q
                                                           SHAR.        wAd l,d\
      vs.                                   ) COMPLAINT
                                            )
                                            ) JURY TRIAL DEMANDED
                                            )
    PSA AIRLINES INC. ET AL                 )
                                            )
               And                          )
                                            )
JEFFREY GILLIAM, DARREN HARRIS,  )
MATTHEW CHRISTNER, RANDALL FUSI, )
JOSEPH ROSE.                     )
                                            )
                     Defendants.            )
-----------------------------)

                                  I. INTRODUCTION

This is an action arising under state and federal law for national origin-based

termination and harassment, which was a part of a pattern and practice of

national origin discrimination against foreign born pilots, and other related

actions on the part of Defendants, including retaliation for complaining of


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Case: 3:11-cv-00005-TMR Doc #: 2 Filed: 01/07/11 Page: 2 of 17 PAGEID #: 35



national origin discrimination, in violation of 42 U.S.C. 2000e et. seq., and

Ohio public policy. These acts of discrimination took place at locations

throughout the United States, and in particular in Dayton, Ohio, Seattle,

Washington, and Charlotte. North Carolina.

                             II.PARTIES

   1. 	Plaintiff Claudio Occhione (hereinafter "Plaintiff"), is an Italian

      citizen who just became a US citizen in 2009 and has a very thick

      accent.

   2. At all relevant times Plaintiff was a resident ofFlorida, Texas and

       domiciled in North Carolina for work. Plaintiff had been employed as

       a commercial pilot since 2001 and was a First Officer from 2001 to

       2009. Plaintiff has worked for PSA Airlines Inc. as an Airline Pilot

      from July 5,2004 until termination on June 1,2009. In his years with

      PSA Plaintiff safely flew over 3600 hours.

   3. Defendant PSA Airlines Inc. (hereinafter "PSA") is a Pennsylvania

      corporation and wholly owned subsidiary of US Airways Group.

   4. 	PSA has over 500 employees and is and has at all relevant times been

       doing business in the State of Ohio. Defendant PSA has its corporate

      headquarters in Vandalia, Ohio at the Dayton International Airport. It

       operates under the name of US Airways Express.



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Case: 3:11-cv-00005-TMR Doc #: 2 Filed: 01/07/11 Page: 3 of 17 PAGEID #: 36



  5. Defendant PSA is an employer within the meaning of title VII of the

      Civil Rights Act of 1964 (hereafter "Title VII"), 42 U.S.C 2000e

      et.seq.

  6. All the acts alleged herein were duly performed by and/or are

      attributable to Defendant, acting by and through their agents and

      employees.

   7. 	 Defendant is responsible for, or controlled, directed or ratified the

      discriminatory activity and is responsible for the unlawful actions

      taken against and/or suffered by Plaintiff.

   8. 	 Plaintiff alleges that each named Defendant negligently, willfully,

      intentionally, maliciously, recklessly or otherwise caused, directed,

      allowed or set in motion the unlawful and retaliating events affecting

      Plaintiff.

                    Ill. JURISDITIONAL STATEMANT

   9. Plaintiff hereby in bona fide contention that each allegation is

      true, brings this action pursuant to the common law of the State of

      Ohio and 42 U.S.C 2000e e et. seq. and 42 U.S.C. 1981a.



                        IV. FACTUAL STATEMANT




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Case: 3:11-cv-00005-TMR Doc #: 2 Filed: 01/07/11 Page: 4 of 17 PAGEID #: 37



   IO.PlaintiffOcchione has been flying since 1994, and has logged almost

      7000 flight hours. During that time he had no FAA violations or

      letters of warning.

   II.Plaintiff Occhione was the holder of an Airline Transport Pilot

      certificate with FAA ratings: Airplane Multiengine Land (ATP) with a

      CL-65 (Canadair Regional Jet) type rating as second in command

      (SIC), Instrument rated, Certified Flight Instructor (CFI), Certified

      Flight Instructor Instrument (CFII), Certified Flight Instructor

      Multiengine (MEl) and Ground Instructor certificate with advanced

      ratings issued in 1996 and almost 7000 flight hours.

   12.PlaintiffOcchione was employed by PSA for approximately five

      years, as a pilot based at the PSA Charlotte, North Carolina facility,

      from July 5, 2004 until June 1,2009. Prior to working at PSA,

      Plaintiff Occhione was employed as a pilot at Xtrajet in California and

      Cherty Air in Texas.

   I3.As a pilot, Plaintiff had a variety of duties, including primarily the

      safe operation of the aircraft to which he was assigned.

   14.Beginning the course ofPlaintiff's employment at PSA, he received

      excellent performance evaluations and was repeatedly praised by his

      managers for his safe and efficient work as a pilot. Plaintiff was



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Case: 3:11-cv-00005-TMR Doc #: 2 Filed: 01/07/11 Page: 5 of 17 PAGEID #: 38



      employed as a First Officer, meaning one of two pilots assigned to

      operate the aircraft on which he flew.

   IS.Beginning in or about September, 2007, Plaintiff applied for

      promotion to the position of Captain.

   I6.Plaintiff was well qualified for the position of Captain. He met and

      exceeded all entrance requirements for the position, which included

      passing a "ground school" conducted by PSA in Dayton, Ohio, where

      written tests were completed by captain applicants, and passing oral

      examinations.

   17.ln evaluating Plaintiff's applications for promotion to the position of

      Captain, PSA was required by published FAA regulation (the

      "Practical Test Standards" or "PTS") to follow well established

      procedures. These procedures included but were not limited to

      submitting each Captain applicant to a check ride, which is a

      simulated ride on one ofthe US Airways aircraft simulators. These

      simulators closely resemble and mimic operational characteristics of

      the aircraft type and model to be flown.

   lS.From 2007 to 2009, Plaintiff submitted to four check rides as a part of

      his effort to be promoted to Captain.




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Case: 3:11-cv-00005-TMR Doc #: 2 Filed: 01/07/11 Page: 6 of 17 PAGEID #: 39



   19.0bjective criteria and witnesses who have testified under oath in a

      related National Transportation Safety Board matter (Babbitt v.

      Occhione, NTSB Docket # SE-18719, heard March 16-17,2010)

      show that Plaintiff either passed each ofthese check rides or was

      unfairly denied the opportunity to complete these check rides.

   20.The first of these check rides took place October 12, 2007. However,

      Defendant PSA and its Aircrew Program Designee (hereafter "APD")

      Jeffrey Gilliam improperly "downed" Plaintiff on this first Captain

      upgrade. Defendants did so because they did not want foreign born

      pilots, especially those with thick accents, acting as Captains of their

      planes.

   21.One example of the discriminatory treatment to which Plaintiff was

      subjected on the first check ride was the fact that although Occhione

      performed almost every aspect of the first check ride correctly, Mr.

      Gilliam graded him as "full failure" meaning that he had to retest

      every aspect ofthe test. This was different, upon information and

      belief, than the test results for American born pilots.

   22.Another example of the way in which Plaintiff was treated

      discriminatorily on the first check ride was that he was not apprised of

      his alleged failures until the check ride was completed, contrary to



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Case: 3:11-cv-00005-TMR Doc #: 2 Filed: 01/07/11 Page: 7 of 17 PAGEID #: 40



      Federal Aviation Regulations PTS policy (FAA) which requires that

      any failure during a check ride is to be communicated immediately to

      the pilot applicant who then decides whether to continue the test.

   23.Plaintiff's check ride "re-test" took place on October 18,2007. At that

      time, he was tested for only about five minutes. Defendant Darren

      Harris (APD) terminated the retest after telling Plaintiff he had failed

      the test for improper diagnosis of a generator relay failure. This was

      an improper basis to fail and to terminate the test because PSA pilots

      had   not been trained on generator relay failures. Moreover, upon

      information and belief, other PSA Captain applicants were not tested

      on this particular scenario. As it happens, the generator relay failure

      used by APD Harris cannot be performed on the company computer­

      based training program used by PSA Airlines at its training facility in

      Dayton, Ohio. Finally, significantly and again in contravention of

      FAA PTS standards, the second check ride failed to test Plaintiff on

      any of the procedures which he had allegedly failed in the first.

   24.During the course ofthe upgrade process that took place in 2007,

      Defendants made several comments to Plaintiff regarding his

      nationality and actively and affinnative slander and singling out for

      discrimination.



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Case: 3:11-cv-00005-TMR Doc #: 2 Filed: 01/07/11 Page: 8 of 17 PAGEID #: 41



   25.Defendants actively worked against the Plaintiff with fraudulent

      intentional efforts to prevent his advancement, whatever the cost.

   26.PSA Airlines refused to advance Plaintiff in position and pay

      consistent with his performance on multiple check rides and on the

      line.

   27.Plaintiffhas come to learn that in the same period at least one other

      denial of promotion to a foreigner with an accent, APD Jeffrey

      Gilliam was the trainer or examiner.

   28.Plaintiffwas then placed on unpaid suspension.

   29.Plaintiffwas then "allowed" to return the line as First Officer only on

      December 3rd 2007.

   30.On November 08, 2007, Plaintiff filed PSA Grievance 38-07 thru the

      Airline Pilot Association (ALPA) which was dead-locked (denied) by

      PSA.

   31.During late 2007, all of 2008 and early 2009 Plaintiff was subjected to

      additional discriminatory and retaliatory acts which included requiring

      him to undergo drug testing on three occasions and placing him on an

      unpaid suspension. Although PSA has a random drug testing policy,

      prior to filing complaints of discrimination and FAA violations by

      PSA during 2007 , Plaintiff was never "randomly" tested. It is belief



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Case: 3:11-cv-00005-TMR Doc #: 2 Filed: 01/07/11 Page: 9 of 17 PAGEID #: 42



     that high seniority Captains at PSA were never "randomly" drug

      tested in twenty years.

  32.00 November 19,2007, Plaintiff sent certified letters to PSA Director

      of Human Resources David Glenn, Chief Pilot Thomas Arline,

     Inspector William Best (FAA) and Fanny Rivera (FAA) claiming

      discrimination and breach ofFAA regulations by PSA examiners.

  33.Plaintiffwas then sent back to the line as First Officer on December

      3rd 2007.

  34.Plaintiff filed his first EEOC charge against Defendant PSA Airlines

      Inc. in March 2008, alleging that he had been subjected to

     discriminatory treatment in violation of Title VII due to his national

      origin, including his thick accent.

  35.00 July 2008 in Charlotte NC Plaintiff was approached by a PSA

     employee who referred a message from Defendant Gilliam. That

      message was about Mr. Gilliam's intentions to report and tum in

     Plaintiff to the FAA and that he, APD Gilliam, was threatening to

     break the Plaintiff.

  36.Subsequent to Plaintiff's third check ride, Defendant Matthew

     Christner, while evaluating his performance, altered the FAA forms

      8065 which were to be used to record those parts of the check ride



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Case: 3:11-cv-00005-TMR Doc #: 2 Filed: 01/07/11 Page: 10 of 17 PAGEID #: 43



      which Plaintiff Occhione performed satisfactorily and those which he

      did not.

   37.Upon sworn testimony in the above-cited NTSB proceeding,

      Defendant Joseph Rose (PSA Director of Operations) told another

      PSA employee (currently FAA Inspector) that PSA management "had

       it in" for Plaintiff Occhione.

   38.Defendants Rose and Fusi collectively carried out a "plan of

      failure" for Occhione by requiring Defendants Gilliam, Harris and

       Christner to falsely evaluate Plaintiff's performances on his check

      rides. Such submission and acts by APDs Gilliam, Harris and

      Christner were wanton, intentional, tortious and fraudulent, as well

       as outside the legitimate course and scope oftheir employment.

   39.On May 16 and 29,2009 PlaintiffOcchione underwent his third and

       fourth check rides for upgrade to Captain. Present during the third ride

       was FAA Principal Operations Inspector Walter Sain. Inspector Sain

      stated in his report of that date, and in sworn testimony in the March

      2010 NTSB hearing that Mr. Occhione "did not receive a fair check."

   40.0n June 1,2009 Plaintiff was terminated from employment.

   41. On June 10,2009, PlaintiffOcchione filed his second EEOC charge

       alleging that he had been discriminated against in his check rides and


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Case: 3:11-cv-00005-TMR Doc #: 2 Filed: 01/07/11 Page: 11 of 17 PAGEID #: 44



      in the perfonnance of his duties and in the denial of his promotion to

      the Captain position. The charge also alleged that Defendant engaged

      in a part of a pattern and practice of discrimination against persons of

      non-American national origin and was discriminating against him in

      retaliation for filing his first EEOC charge.

   42.On June 29, 2009, Plaintiff filed PSA Grievance 2009-047 thru the

      Airline Pilot Association (ALPA). The decision was held due to

      Company research on new evidence presented by Plaintiff.

   43.Less than ninety days before the filing of this complaint Plaintiff

      received right to sue letters on his EEOC charges.

   44.Defendants' actions constitute harassment and discrimination within

      the meaning of Ohio public policy and Title VII of the Civil Rights

      Act of 1964.

   4S.In all four discriminating check ride environments provided by PSA,

      Plaintiff has never received an equal opportunity to upgrade even

      though he has been signed off four times by PSA Instructors to take

      this captain upgrade check rides without any problems.

   46.PSA Airlines simply acted in retaliation for a variety of complaints

      submitted by Plaintiffthru the EEOC, DOL and FAA whistleblower




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Case: 3:11-cv-00005-TMR Doc #: 2 Filed: 01/07/11 Page: 12 of 17 PAGEID #: 45



      Hotline, therefore planned certificate action against the Plaintiff to

      harm his future as an airline pilot and as a human being.

   47. PSA's actions have seriously damaged the Plaintiff's ainnan records,

      future career of employment and black balled him as a pilot for the

      rest of his life.

   48. Plaintiff is unable to work or seek work as a pilot.

   49. Plaintiff has lost all present and future income he would have

      generated as a Captain for PSA or with future employment as pilot for

      a different air carrier.

   50.PSA Airlines fabricated and fraudulently planned and orchestrated

      tennination of employment.

   51.The alleged "failures to upgrade to the captain position" were

      fraudulently manipulated by PSA in collusion with two Federal

      Aviation Administration's (FAA) Inspectors who were in charge of

      overseeing PSA Airlines Operations.

   52.Defendants along with the aforementioned Cincinnati FAA FSOO

      Inspectors conspired to suspend Plaintiff s pilot certificates in the

      attempt to cover the fact that discriminating and retaliating acts

      occurred at PSA and to prevent such facts from becoming apparent.




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        Case: 3:11-cv-00005-TMR Doc #: 2 Filed: 01/07/11 Page: 13 of 17 PAGEID #: 46
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           53.Plaintiffhas suffered emotional distress, with resulting physical

              manifestations, caused by the hostile work environment and wrongful

              tennination of employment.

                                   v.   LEGAL CLAIMS

        A. PLAINTIFF FIRST CAUSE OF ACTION - Wrongful Tennination in
        Violation of Ohio Public Policy against Wrongful Discharge Based on
        National Origin.
           54.Plaintiff repeats and incorporates herein the allegations of paragraph 1

              through 53 as thought fully set forth below.

           55. The public policy of the State of Ohio includes the prohibition against

              discriminating against employees because oftheir national origin, in

              violation of the policies expressed in the Ohio Revised Code §4112 et.

              seq.

           56. In tenninating Plaintiff in whole or in part because of his national

              origins, Defendant PSA Airlines Inc. violated the public policies of

              the State of Ohio.

           57.As a result of Defendant's acts, Plaintiffhas lost compensation and

              benefits, and suffered emotional distress. Plaintiff is entitled to

              receive compensatory damages in an amount in excess of Ten

              Thousand Dollars ($10,000.00).




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Case: 3:11-cv-00005-TMR Doc #: 2 Filed: 01/07/11 Page: 14 of 17 PAGEID #: 47



   58.Defendant PSA's conduct was willful, wanton and in total disregard

      for the rights ofPlaintiff which entitles the Plaintiff to recover

      punitive damages in an amount in excess ofTen Thousand Dollars

      ($10,000.00).

   59.As a direct and proximate result of Defendant's conduct, Plaintiffhas

      been forced to file legal action and thus is entitled to his attorney's

      fees and costs.

   B. PLAINTIFF'S SECOND CAUSE OF ACTION -Wrongful

       Harassment and Termination in Violation of Title VII ofthe Civil

       Rights Act of 1964.

   60.Plaintiff incorporates herein the allegations of paragraph 1 through 59

      as though fully set forth below.

   61. Title VII ofthe Civil Rights Act of 1964, 42 U.S.C. 2000 et. seq.

      includes the prohibition against discriminating against employees

      because of their race or in retaliation for filing EEOC charges or

      otherwise opposing discrimination.

   62.In harassing and then terminating Plaintiff in whole or in part because

      of his national origin, and then terminating Occhione and disciplining

      him in whole or in part because he filed an EEOC charge and because

      of his national origin, Defendant PSA violated 42 U.S.C. 2000e et.seq.



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Case: 3:11-cv-00005-TMR Doc #: 2 Filed: 01/07/11 Page: 15 of 17 PAGEID #: 48



   63. As a result of Defendant PSA's acts, Plaintiff has lost compensation

      and benefits, and suffered emotional distress. Plaintiff is entitled to

      receive compensatory damages in an amount in excess ofTen

      Thousand Dollars ($10,000.00).

   64.Defendant's conduct was willful, wanton and in total disregard for the

      rights of Plaintiff which entitles the Plaintiff to recover punitive

      damages in an amount in excess ofTen Thousand Dollars

      ($10,000.00).

   65.As a direct and proximate result of Defendant's conduct, Plaintiffhas

      been forced to file legal action and thus is entitled to his attorney's

      fees and costs.

   C. PLAINTIFF'S THIRD CAUSE OF ACTION -Intentional

      Infliction ofEmotional Distress under Common Law. (lIED)

   66.Plaintiff incorporates herein the allegations of paragraph 1 through 65

      as though fully set forth below.

   67.Defendant PSA Airlines's actions go beyond all possible bounds of

      decency, and are atrocious and utterly intolerable.

   68.The actions of Defendant against Plaintiff described above were

      designed to inflict severe emotional distress upon Plaintiff.




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Case: 3:11-cv-00005-TMR Doc #: 2 Filed: 01/07/11 Page: 16 of 17 PAGEID #: 49



   69. Defendant PSA is liable to Plaintiff for the acts committed by its

      agents Gilliam, Harris, Christner, Fusi, Rose and Glenn by virtue of

      the doctrine of Respondeat Superior.

   70. Plaintiffhas suffered damages from Defendants' tortious conduct,

      including economic, pecuniary and emotional distress damages and

      far more importantly the ability to work in his profession.

   71.Additionally, the conduct of Defendant and its employees has been

      malicious, fraudulent and was designed to annihilate Plaintiff's pilot

      profession thus Plaintiff is entitled to punitive damages under Title

       VII.

   72. As a direct and proximate result of Defendant's conduct, Plaintiff has

       been forced to file legal action and thus is entitled to his attorney's

      fees and costs.

WHEREFORE, Plaintiffs demands a jury trial and prays that the following

relief be awarded:

   1. 	 Actual, compensatory and punitive damages for Plaintiffs' first cause

      of action, Defendant PSA Airlines et al. violation of Ohio Revised

      Code §4112 et.seq;

   2. Actual, compensatory and punitive damages for Plaintiff's second

      cause of action, violation of 42 U.S.C. 2000e et.seq.



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        Case: 3:11-cv-00005-TMR Doc #: 2 Filed: 01/07/11 Page: 17 of 17 PAGEID #: 50
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           3. Actual, compensatory and punitive damages for Plaintiffs third cause

                of action of Intentional Infliction of Emotional Distress under the

                Common Law.

           4. 	 Costs and attorneys fees in connection with this matter.

           5. 	 Other and further relief that the Court deems just and equitable.

           6. That the Court retain jurisdiction over Defendants until all remedies

                are determined to be in full compliance with the law.

           7. 	 Extraordinary relief with the affirmative correction of his training and

                airman records to reflect his exemplary and consistent within-

                standards performance as a pilot at PSA Airlines during his 5 years of

                employment.

           8. 	 Extraordinary relief with the retraction of fraudulent statements and

                testimony given by PSA employees to/for the Federal Aviation

                Administration (FAA) of the Cincinnati Flight Standard District

                Office and the National Transportation Safety Board (NTSB).

           9.

                Dated This 0   i    day of Jannuary, 2011.


                                                         ~~
                                                      Claudio Occhione
                                              P.O Box 245, Sharon WV 25134
                                                 Telephone 304-741-4547


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